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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )
                                                  )         No. 6:22-CR-31-REW-HAI-2
 v.                                               )
                                                  )                     ORDER
 JONATHAN STATKIEWICZ,                            )
                                                  )
       Defendant.                                 )

                                        *** *** *** ***

       After conducting Rule 11 proceedings, see DE 34 (Rearraignment Minute Entry),

Magistrate Judge Ingram recommended that the undersigned accept Defendant Jonathan

Statkiewicz’s guilty plea and adjudge him guilty of Count 1 of the DE 1 Indictment. See DE 35

at 2 (Recommendation); see also DE 37 (Plea Agreement). Judge Ingram expressly informed

Defendant of his right to object to the Recommendation to secure de novo review. See DE 35

at 2-3. The established, three-day objection deadline has passed, and no party has objected.

       The Court is not required to “review . . . a magistrate[ judge]’s factual or legal conclusions,

under a de novo or any other standard, when neither party objects to those findings.” Thomas v.

Arn, 106 S. Ct. 466, 472 (1985); see also Berkshire v. Dahl, 928 F.3d 520, 530 (6th Cir. 2019)

(noting that the Sixth Circuit has “long held that, when a defendant does ‘not raise an argument in

his objections to the magistrate[ judge]’s report and recommendation . . . he has forfeited his right

to raise this issue on appeal.’”) (quoting Kensu v. Haigh, 87 F.3d 172, 176 (6th Cir. 1996) (quote

brackets simplified)); United States v. Olano, 133 S. Ct. 1770, 1777 (1993) (distinguishing waiver

and forfeiture); Fed. R. Crim. P. 59(b)(2)-(3) (limiting de novo review duty to “any objection”




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filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).

        The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

        1. The Court ADOPTS DE 35, ACCEPTS Defendant’s guilty plea, and ADJUDGES

           Defendant guilty of Count 1 of the Indictment (DE 1);

        2. The Court CANCELS the jury trial in this matter as to this Defendant only; and

        3. The Court will issue a separate sentencing order.1

        This the 8th day of August, 2022.




1
  Upon concluding the hearing, Judge Ingram released Statkiewicz under the same conditions
previously imposed pending trial. See DE 34; DE 20 (Order Setting Bond Conditions); DE 17
(Initial Appearance and Arraignment Minute Entry). The Court, thus, given the bond compliance,
the Government’s recommendation, and the § 3143 standard in a non-presumption case, sees no
need to further address detention at this time; Statkiewicz shall remain released subject to those
DE 20 conditions, pending sentencing.
                                                2
